                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 20-05024-01-CR-SW-SRB
                                                   )
JAMES POOLE,                                       )
                                                   )
                          Defendant.               )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Information

filed on September 17, 2020, is now Accepted and the Defendant is Adjudged Guilty of such

offense. Sentencing will be set by subsequent Order of the Court.




                                                         /s/ Stephen R. Bough
                                                        STEPHEN R. BOUGH
                                                   UNITED STATES DISTRICT JUDGE




Date: October 2, 2020




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